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                                     MEMO ENDORSED:
                                                                               One Barker Avenue, Fifth Floor
                                                                               White Plains, New York 10601
                                           The application is granted. The     t. 914.821.3075
May 20, 2020                               July 9, 2020 conference is          f. 914.288.0023
                                           adjourned to August 20, 2020 at     m.201.625.5165
VIA ECF                                    10:30 a.m.                          Cameron S. Reuber
                                                                               Partner
Hon. Paul G. Gardephe
                                   SO ORDERED.                                 Reuber@LeasonEllis.com
United States District Judge
Thurgood Marshall United States Courthouse
40 Foley Square, Courtroom 705
New York, NY 10007-1312
                                           Dated: June 24, 2020
                                     Re:     Tianhai Lace USA, Inc. v. G-III Leather Fashions, Inc.
                                             Case No. 20-cv-00765-PGG

Dear Judge Gardephe:

        We are counsel for Plaintiff Tianhai Lace USA, Inc. (“Tianhai”) in the above-referenced case
against G-III Leather Fashions, Inc. (“G-III”). We write jointly with defense counsel, Jonathan Z. King,
Esq., of Cowan, Liebowitz & Latman, P.C., to request rescheduling of the Initial Pretrial Conference
currently set for July 9, 2020 at 10 a.m. to a new date convenient for the Court in August or September.
This is the second request for a continuance and the parties seek such relief for several reasons, both
practical and procedural.

         G-III waived service of process and its responsive pleading concerning the 18 garments identified
in the Complaint is currently due on June 26, 2020. However, due to COVID-19 restrictions and resulting
complications, defense counsel has not yet been able to review either: (a) the allegedly infringing garments,
nor (b) Plaintiff’s allegedly infringed lace designs. Preliminary investigations suggest, however, that
Defendant G-III neither manufactured nor is otherwise responsible for at least three (3) garments. Counsel
for the parties are cooperating on the identification of the proper parties and, as a result, at least one more
party will need to be added via an amended complaint. Rather than require the G-III to file multiple answers
and potentially attend multiple case management conferences, however, the parties believe that judicial
economy will be better served by further extending G-III’s deadline to answer so that Plaintiff can conduct
the diligence necessary to ascertain the “Doe” Defendant ultimately responsible for the three garments
Defendant G-III has disclaimed, file an amended complaint, and serve the new defendant.

         Counsel for Tianhai and G-III believe that conducting the initial pretrial conference before all
parties are properly added to the case would be counterproductive. Thus, additional time is respectfully
requested. If granted, the requested continuance will not affect any other scheduled dates as none are
currently calendared but for the upcoming conference and the deadlines relating thereto.

        WHEREFORE, the parties jointly request (1) adjournment of the upcoming Initial Pretrial
Conference to a new date convenient for the Court in September, so that Plaintiff can conduct a prefiling
investigation and amend its Complaint to add a new party per Rule 15 by July 24, 2020; and (2) adjournment
of Defendant G-III Leather Fashions, Inc.’s time to answer or respond to the existing complaint.
Each defendant will thereafter timely respond to the amended complaint pursuant to the Federal Rules.

                                                             Respectfully submitted,


                                                             Cameron S. Reuber

Cc:           All counsel of record (via email and ECF)


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